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U.S. DISTRICT

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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF OHIO

KATHRYN S. BUCK
2331 E. Market St.
Akron, OH 44312

Plaintiff,

ANTHONY FRANK,

Chief of Police
city of Twinsburg
10075 Ravenna Rd.
Twinsburg, OH 44087

and
CITY OF TWINSBURG

10075 Ravenna Rd.
Twinsburq, OH 44087

Defendants.

EASTERN DIVISION

) Case No. 5:99CV0094

) JUDGE DANIEL A. POLSTER

FIRST AMENDED COMPLAINT

(Trial by Jury Requested)
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JURISDICTION

1. This action is authorized and instituted pursuant to Title
VII, Section 706 of the Civil Rights Act of 1964, as amended, 42
U.S.C. Section 2000-e, et seq. Jurisdiction is founded upon 28
U.S.C. Sections 1331 and 1343 AND 42 U.S.C. Section 1983. To the
extent declaratory relief is sought, claims are asserted pursuant
to 28 U.S.C. Sections 2201 and 2202. Plaintiff further invokes the
supplemental jurisdiction of this Court to hear and decide claims
arising under the laws of the State of Ohio, pursuant to 28 U.S.C.
Section 1367, state statutes and state common law.

2. The unlawful discrimination and employment practices
alleged below were and are now being committed within the state of
Ohio and the Northern District, Eastern Division of this Court.

3. At all times relevant to this complaint, defendants acted
under color of law and under color of the official policies,
practices, requlations, customs and usages of the City of

Twinsburg, Ohio.

PARTIES

4, Plaintiff KATHRYN S. BUCK was at all relevant times a
citizen of Ohic, residing in Akron, Ohio, and an employee of the
Twinsburg, Ohio Police Department.

5. Defendant ANTHONY FRANK was at all relevant times the
Police Chief of Twinsburg, Ohio, and the employer of plaintiff, and
in that capacity was responsible for the implementation of all
laws, statutes, ordinances, rules, practices and policies relating

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to employees of the City of Twinsburg Police Department. 6 .
Defendant CITY OF TWINSBURG was at all relevant times a municipal
entity located in Twinsburg, Ohio. In that capacity, defendant
City of Twinsburg was responsible for the creation = and
implementation of all laws, statutes, ordinances, rules, practices

and policies relating to employees of the City of Twinsburg.

FACTS

7. Plaintiff has been employed with defendant City of
Twinsburg since 1986, working that entire time in the capacity of
a dispatcher for the Police Department.

8. In 1992, defendant Frank became Police Chief of Twinsburg,
making him plaintiff’s ultimate supervisor.

9. Beginning in 1992, and continuing for years after that,
defendant Frank has told plaintiff and others that he did not like
working with women, did not know how to work with women and that if
he had his way, he would replace them all with men.

10. Defendant Frank has made repeated comments to plaintiff
and others regarding his disdain for women in the workplace.
Defendant Frank has displayed a pattern of harassing conduct toward
plaintiff and other women due to gender.

11. Since 1992, defendant Frank has continually harassed
plaintiff and other women due to gender, creating a hostile work
environment.

12, Plaintiff has repeatedly complained to officials from

defendant City of Twinsburg, including the mayor of Twinsburg,
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about defendant Frank’s treatment of women, to no avail.

13. On May 13, 1997, plaintiff was injured while at work.

14. Plaintiff applied for a 90-day paid injury leave,
pursuant to the policies and procedures of defendant City of
Twinsburg.

15. Despite the fact that plaintiff‘s worker’s compensation
claim was certified by the city, on June 16, 1997, defendant Frank
denied plaintiff that paid leave.

16. On June 6, 1997, defendant Frank, utilizing an electronic
system by which he could record telephone’ conversations,
surreptitiously tape-recorded a telephone conversation between
himself and plaintiff, without plaintiff knowing the conversation
was being tape-recorded.

17. On numerous other occasions, defendant Frank tape-
recorded conversations between himself and other employees of the
Twinsburg Police Department, either in telephone conversations or
while the other employees were in defendant Frank’s office, without
those employees being aware they were being tape-recorded.

18. During the week of June 17-25, 1997, dauring a telephone
conversation between plaintiff and defendant Frank, defendant Frank
told plaintiff that he preferred she not return to work and that
she explore a disability retirement when her sick time and holiday
time run out.

19. On or about October 11, 1997, plaintiff received
notification that effective October 1, 1997, her health insurance

benefits had been terminated by defendant City of Twinsburg and
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that she was eligible to continue her medical benefits under COBRA,
at a cost of $443.11 per month.

20. Plaintiff was told by officials from defendant City of
Twinsburg that her benefits had been canceled because the city had
no idea when plaintiff would return to work, despite the fact that
plaintiff’s doctor had informed defendants that plaintiff would
return to work within six months to one year.

21. On October 21, 1997, plaintiff was notified by defendant
city of Twinsburg that her life insurance and vision care would be
canceled effective November 1, 1997, due to her reduction in work
hours.

22. On October 31, 1997, plaintiff’s doctor released
plaintiff to return to work part-time, effective November 11, 1997,
even though plaintiff was not completely ready to return to work;
plaintiff had asked her doctor to release her to work due to
plaintiff‘s concerns about being terminated from employment if she
missed any more time from work due to her injury.

23. Plaintiff informed defendants by certified mail of her
availability to return to work as of November 11, 1997.

24. Prior to November 11, 1997, plaintiff had observed her
name on a work schedule, showing that she was scheduled to work on
November 11, 1997.

25. It was important for plaintiff to return to work on or
about November 11, 1997, because that was the approximate date that
her Family Medical Leave Act time was to expire.

26. On November 11, 1997, plaintiff reported to work but was
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told by defendant Frank that she was not scheduled and that she
should go home.

27. Defendants initially claimed that the reason plaintiff
could not return to work was because her part-time schedule could
not be accommodated, despite the fact that plaintiff‘s schedule was
at that time being covered by other employees on an overtime basis
and despite the fact that at the time there were other dispatchers
working part-time.

28. Defendants then told plaintiff that she could not return
to work until a city doctor approved her return to work.

29. A city doctor subsequently approved plaintiff for a
November 19, 1997 return-to-work date.

30. Once plaintiff was cleared by a city doctor to return to
work, defendant Frank told plaintiff, through a union
representative, that she could not return to work until a union
grievance that she had filed earlier, relative to defendant Frank’s
denial of plaintiff’s paid leave, was settled.

31. These purported reasons for not permitting plaintiff to
return to work were mere pretext for defendants’ real motivations,
which were to replace plaintiff with male dispatchers and to punish
plaintiff for having complained about the denial of the 90-day paid
leave.

32. Plaintiff and defendants eventually signed an agreement
purportedly settling the union grievances filed by plaintiff but
plaintiff signed said agreement under duress since defendants had

previously told plaintiff that despite her being ready, willing and
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able to return to work, she could not return to work until the
grievance was settled.

33. Plaintiff returned to work on December 1, 1997.

34. Defendant Frank has, by information and belief, placed
listening devices in the dispatch center in order to
surreptitiously listen to employees’ conversations.

35. On December 2, 1997, plaintiff filed a complaint with the
Ohio Civil Rights Commission, alleging sex discrimination and
unlawful retaliation.

36. By information and belief, officials and/or agents of
defendant City of Twinsburg, in investigating the complaint filed
by plaintiff, threatened plaintiff’s witnesses with termination
from employment if they did not sign affidavits supporting
defendants’ version of events.

37. Since the filing of plaintiff’s complaint with the Ohio
Civil Rights Commission on December 2, 1997, plaintiff has been
subjected to further disparate treatment and harassment in
retaliation for having filed her complaint and for having filed
this lawsuit.

38. The retaliatory conduct by defendants has included, but
is not limited to, threatening plaintiff with disciplinary
measures, imposing disciplinary measures, denying plaintiff access
to her medical records, setting up confrontations with plaintiff in
order to induce her to commit departmental infractions, ordering
plaintiff to undergo a fitness-for-duty examination with a

psychologist, ordering one of plaintiff's key witnesses to undergo
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a similar fitness-for-duty examination and limiting plaintiff’s
work schedule to times when another dispatcher was also on duty.
39. On October 22, 1998, the U.S. Department of Justice,
Civil Rights Division issued a "right to sue" letter to plaintiff.
40. On or about October 24, 1998, plaintiff received her
"right to sue" letter, a copy of which is attached to this

complaint as Exhibit A.

COUNT T
41. Plaintiff incorporates by reference each and every
allegation contained in the complaint as if fully rewritten herein.
42. The actions and conduct of the defendants constitute
discrimination on the basis of gender, in violation of Title VII of
the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq.
43. As a direct result of the unlawful actions and conduct of
defendants, plaintiff has suffered and continues to suffer economic
losses, loss of reputation in the community and severe emotional

distress.

COUNT IT
44, Plaintiff incorporates by reference each and every
allegation contained in the complaint as if fully rewritten herein.
45. The actions and conduct of the defendants constitutes
unlawful discrimination and retaliation against plaintiff based on
her gender and based on plaintiff’s opposition to conduct which was

made unlawful by Title VII of the Civil Rights Act of 1964, as
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amended, 42 U.S.C. Section 2000e, et seg., in violation of Section
703 of Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. Section 2000e-2(a), and Section 704 of Title VII of the
Civil Rights Act of 1964, as amended, 42 U.S.C. Section 2000e-3(a),
in that defendants denied plaintiff’s request for a 90-day paid
leave in retaliation for plaintiff’s previous complaints about
defendant Frank’s discrimination against women.

46. As a direct result of the actions and conduct of
defendants, plaintiff has suffered and continues to suffer economic

losses, reputational damages and severe emotional distress.

COUNT Trt

47. Plaintiff incorporates by reference each and every
allegation contained in the complaint as if fully rewritten herein.

48. The actions and conduct of the defendants constitutes
unlawful retaliation against plaintiff based on her participation
in a proceeding under Title VII in that defendants retaliated and
continue to retaliate against plaintiff due to her having filed
union grievances, a complaint with the Ohio Civil Rights Commission
and a federal lawsuit against defendants.

49, As a direct result of the actions and conduct of
defendants, plaintiff has suffered and continues to suffer economic

losses, reputational damages and severe emotional distress.

COUNT IV

50. Plaintiff incorporates by reference each and every
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allegation contained in the complaint as if fully rewritten herein.
51. The conduct of defendants constitutes unlawful

discrimination based on gender, in violation of O.R.C. 4112.02.
52. As a direct result of the actions and conduct of

defendants, plaintiff has suffered and continues to suffer economic

losses, reputational damages and severe emotional distress.

COUNT V

53. Plaintiff incorporates by reference each and every
allegation contained in the complaint as if fully rewritten herein.

54, The conduct of defendants constitutes unlawful
retaliation against plaintiff for plaintiff having opposed
defendants’ unlawful discriminatory actions, in violation of O.R.C.
4112.02.

55. As a direct result of the actions and conduct of
defendants, plaintiff has suffered and continues to suffer economic

losses, reputational damages and severe emotional distress.

COUNT VI
56. Plaintiff incorporates by reference each and every
allegation contained in the complaint as if fully rewritten herein.
57. The policies and practices of defendants are designed
and/or implemented in such a way as to violate plaintiff’s federal
statutory rights to be free from unlawful gender discrimination and
retaliation in the workplace.

58. As a direct result of the unlawful actions and conduct of

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defendants, plaintiff has suffered and continues to suffer economic

losses, reputational damages and severe emotional distress.

COUNT VII
59. Plaintiff incorporates by reference each and every
allegation contained in the complaint as if fully rewritten herein.
60, The actions and conduct of defendants constitutes an
invasion of privacy under state law.
61. As a direct result of the actions and conduct of
defendants, plaintiff has suffered and continues to suffer economic

losses, reputational damages and severe emotional distress.

COUNT VIIT

62. Plaintiff incorporates by reference each and every
allegation contained in the complaint as if fully rewritten herein.

63. The actions and conduct of defendants constitutes an
invasion of privacy in violation of the Fourth and Fourteenth
Amendments to the U.S. Constitution.

64. As a direct result of the actions and conduct of
defendants, plaintiff has suffered and continues to suffer economic

losses, reputational damages and severe emotional distress.

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65. Plaintiff incorporates by reference each and every
allegation contained in the complaint as if fully rewritten herein.

66. The conduct of defendants constitutes intentional

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infliction of emotional distress under state law.
67. As a direct result of the actions and conduct of
@gefendant, plaintiff has suffered and continues to suffer economic

losses, reputational damages and severe emotional distress.

WHEREFORE, plaintiff KATHRYN S. BUCK respectfully prays for
judgment against the defendants, both jointly and severally, and
for compensatory damages against all defendants; punitive damages
(against the individual defendant only), and any and all other
relief that this court deems equitable, including but not limited
to costs and attorney’s fees, in an amount that is fair and full

compensation under all applicable law.

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Cleveland, OH 44114

(216) 241-3900

Attorney for Plaintiff
JURY DEMAND

Plaintiff hereby demands a trial by jury.

Vou. SAD

KENNETH D. MYERS

Attorney for Plaintiff

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